     Case: 4:23-cr-00236-HEA Doc. #: 1 Filed: 05/09/23 Page: 1 of 7 PageID #: 1



                               UNITED STA TES DISTRCT COURT
                                                                                                FILED
                               EASTERN DISTRCT OF MISSOURI                                    MAY - 9 2023
                                    EASTERN DIVISION
                                                                                           U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF MO
                                                                                                 ST. LOUIS
UNITED STA TES OF AMERICA,                             )
                                                       )
         Plaintiff,                                    )
                                                       )
v.                                                     )       No.     4: 23-cr-00236-HEA
                                                       )
                                                       )
GAUTAM JAYASWAL, M.D. ,                                )
                                                       )
         Defendant.                                    )

                                         INFORMATION

The United States Attorney charges that:

                                          BACKGROUND

         At all times material to this Information, unless otherwise specified below:

         I.      Since in or about 1986, Defendant Gautam Jayaswal, M.D., has been a licensed

medical doctor, working primarily as an emergency room physician. At times relevant to this

Information, the Defendant was licensed in at least eight states, including Missouri.

         2.      At times relevant to this Information , the Defendant was employed by, or

contracted    with,   companies   that   provided   health   care-related   services    and   submitted

reimbursement claims to Medicare, Medicaid, Tricare, and other health care benefit programs for

services that the Defendant purportedly provided.

                                  Relevant Medicare Provisions

         3.      The United States Department of Health and Human Services, through the Centers

for Medicare and Medicaid Services (CMS), administers the Medicare Program, which is a federal

health benefits program for the elderly and disabled. There are four parts to Medicare, each part
  Case: 4:23-cr-00236-HEA Doc. #: 1 Filed: 05/09/23 Page: 2 of 7 PageID #: 2



providing coverage for different health care services: Part A (hospital and inpatient services); Part

B (outpatient services); Medicare Part C (Medicare Advantage Plans); and Part D (prescription

drugs).

          4.   Medicare Part B reimburses health care providers for covered health services

provided to Medicare beneficiaries in outpatient settings. The covered services include, but are not

limited to, durable medical equipment ("DME") and diagnostic tests that have been determined to

be medically necessary and ordered by a medical doctor, nurse practitioner, physician assistant, or

other Medicare authorized provider (referred to collectively as "doctor" or " physician."). As to

diagnostic tests, Medicare Part B reimburses for diagnostic tests only if, among other requirements,

the tests were ordered by a physician treating the beneficiary, that is, the physician furnished a

consultation or treated a beneficiary for a specific medical problem and used the results of the tests

in the management of the beneficiary's specific medical problem.

          5.   The Medicare Advantage Program, known as Medicare Part C, offers beneficiaries

a managed care option by allowing individuals to enroll in private health plans rather than having

their care covered through Medicare Part A or Part B. CMS contracts with Medicare Advantage

programs to provide medically necessary health services to beneficiaries; in return , CMS makes

monthly payments to the Medicare Advantage programs for enrolled beneficiaries.

          6.   CMS acts through fiscal agents called Medicare Administrative Contractors, or

" MACs," which are statutory agents for CMS for Medicare Part B. The MACs are private entities

that review claims and make payments to providers for services rendered to Medicare

beneficiaries. The MACs are responsible for processing Medicare claims arising within their

assigned geographic areas, including determining whether the claim is for a covered service.




                                                 2
  Case: 4:23-cr-00236-HEA Doc. #: 1 Filed: 05/09/23 Page: 3 of 7 PageID #: 3



        7.     To receive Medicare reimbursement, providers must make appropriate application

to the MAC and execute a written provider agreement. The provider agreement obligates the

provider to know, understand, and follow all Medicare regulations and rules. After successful

completion of the application process, the MAC assigns the provider a unique provider number,

which is a necessary identifier for billing purposes.

        8.     Medicare providers must retain clinical records for the period required by state law

or five years from the date of discharge if there is no requirement in state law.

                               Defendant's Enrollment in Medicare

       9.      On or about December 2016, September 2017, January 2018, July 2018, August

2018, February 2019, May 2019, and July 2019, the Defendant signed Medicare enrollment

applications and certified therein:

       I have read and understand the Penalties for Falsifying Information, as printed in
       the application. I understand that any deliberate omission, misrepresentation, or
       falsification of any information ... contained in any communication supplying
       information to Medicare ... [may be criminally prosecuted] ...

       I agree to abide by the Medicare laws, regulations and program instructions ...
       including the Federal anti-kickback statute.

       I will not knowingly present or cause to be presented a false or fraudulent claim for
       payment by Medicare and will not submit claims with deliberate ignorance or
       reckless disregard of their truth or falsity.

        I 0.   On or about December 2016, January 2017, September 2017, January 2018,

 February 2018, September 2018, October 2018, May 2019, and July 2019, the Defendant signed

Medicare reassignment of benefit forms-certifying that he understood that he was "required to

ensure strict compliance with Medicare regulations, including payment policy and coverage

guidelines."




                                                 3
  Case: 4:23-cr-00236-HEA Doc. #: 1 Filed: 05/09/23 Page: 4 of 7 PageID #: 4



                                   Relevant Medicaid Provisions

         11.   The Medicaid Program is jointly funded by the states and the federal government.

The Medicaid Program reimburses health care providers for covered services rendered to eligible

low-income Medicaid recipients. At times relevant to this [nformation, the Defendant was an

enrolled Medicaid provider in several states, including but not limited to Missouri, Kansas, and

Texas.

                                             Countl
                                            Conspiracy
                                          18 u.s.c. § 371
         12.   Paragraphs I to 14 are incorporated by reference as if fully set out herein.

         13.   Beginning on or about 2017 and continuing to on or about 2021, in the Eastern

District of Missouri and elsewhere,

                                 GAUTAM JAYASW AL, M.D.,

the Defendant herein, and persons known and unknown, did unlawfully, willfully, and knowingly

combine, conspire, and agree with persons known and unknown to the grand jury to commit the

following offenses against the United States: to defraud a health care benefit program and to

obtain, by false and fraudulent representations, money owned by and under the control of a

health care benefit program, in connection with the deli very and payment of health care benefits,

items, and services, in violation of Title 18, United States Code, Section I 347(a)( I) and (2).

                                    Purpose of the Conspiracy

         14.   The purpose of the conspiracy was for:

               a.      the Defendant and others to receive illegal payment in return for ordering

                       and providing medically unnecessary durable medical equipment and

                       genetic tests (collectively referred to as "Health Care Services") for patients

                       with whom the Defendant did not have a doctor-patient relationship; and
                                                 4
  Case: 4:23-cr-00236-HEA Doc. #: 1 Filed: 05/09/23 Page: 5 of 7 PageID #: 5



                b.      the Defendant and his co-conspirators to enrich themselves by causing

                        health insurers to reimburse for medically unnecessary Health Care

                        Services.

                              Manner and Means of the Conspiracy

        15.     Telemedicine or telehealth refers to the practice of caring for patients when the

health care provider and the patient are in different physical locations. Using audio and video

technology, telemedicine health care professionals evaluate, diagnose, and treat patients when they

are in different locations.

        I 6.    It was part of the conspiracy that from on or about 2017 to on or about 2021, the

Defendant contracted with several companies purportedly to perform work as a telemedicine

doctor. Those companies included but were not limited to the following: Barton & Associates,

DialCare Co, Doctegrity, Doctorology, LLC, USA Management Resources, Rossiter and

Cummaro Enterprises, LLC, RAS/Sunshine Medical, Fix Ur Rx, Rocky Mountain Health, LSW

Management Solutions, Physician Acquisition Pas, and MP Network. Through these companies,

the Defendant ordered medically unnecessary Health Care Services for thousands of patients. The

Defendant's work with these companies was in addition to his work as an emergency room

physician at health care facilities in Missouri and other states.

        17.     It was part of the conspiracy that between January 2017 and May 202 I, the

Defendant fraudulently ordered one or more orthotic braces for approximately 1,433 patients.

The DME companies that supplied these various braces received approximately $ I ,366, 123.28

from Medicare Part B based on the Defendant's fraudulent orders for orthotic braces. The

Defendant knew that these braces were not medically necessary when he submitted these

fraudulent orders. Furthermore, the Defendant knew that companies were submitting claims to

                                                  5
  Case: 4:23-cr-00236-HEA Doc. #: 1 Filed: 05/09/23 Page: 6 of 7 PageID #: 6



Medicare for the orthotic braces that were the subject of his fraudulent orders.

        18.    It was further part of the conspiracy that between June 20 I 8 and September 2021,

the Defendant fraudulently signed genetic test orders and caused the laboratories receiving his

genetic test orders to submit reimbursement claims to health care benefit programs. Medicare

Part   B paid approximately $14,707,687.57 for the 2,061 Medicare Part B patients form whom

the Defendant was listed as the ordering physician. The Defendant knew that these genetic tests

were not medically necessary when he submitted these fraudulent orders. Furthermore, the

Defendant knew that companies were submitting claims to Medicare for the genetic tests that

were the subject of his fraudulent orders.

                                             Overt Act

        19.    On June 16, 2020, Superior Medical Supplies, LLC submitted a claim to

Medicare for Patient V.B. to receive multiple braces (2 knee and 2 additional lower extremity

braces). The Defendant's prior order of those braces for Patient V.B. was done in furtherance of

the conspiracy. Patient V.B. received those braces within the Eastern District of Missouri .




                                                    SAYLER A. FLEMING
                                                    United States Attorney




                                                     Isl Derek J. Wiseman
                                                    DEREK J. WISEMAN #67257MO
                                                    Assistant United States Attorney




                                                6
 Case: 4:23-cr-00236-HEA Doc. #: 1 Filed: 05/09/23 Page: 7 of 7 PageID #: 7




UNITED ST ATES OF AMERICA                      )
EASTERN DIVISION                               )
EASTERN DISTRICT OF MISSOURI                   )


     I, Derek J. Wiseman, Assistant United States Attorney for the Eastern District of Missouri,

being duly sworn, do say that the foregoing information is true as I verily believe.




                                      Isl Derek J. Wiseman
                                      DEREK J. WISEMAN #67257MO


     Subscribed and sworn to before me this 22nd day of March, 2023.



                                        /s/ Gregory J. Linhares                              _
                                            CLERK, U.S. DISTRICT COURT          <><s-;>~1-~; A~t~
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